    Case 3:01-cr-00129-LRH-VPC             Document 180       Filed 01/18/08     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
                                    RENO, NEVADA

UNITED STATES OF AMERICA,                            )       3:01-cr-00129-LRH-VPC
                                                     )       3:05-cv-00120-DWH-RAM
                              Plaintiff,             )       3:01-cr-00188-LRH
                                                     )
       vs.                                           )       MINUTES OF THE COURT
                                                     )
GRISELDO ORTIZ-MONROY,                               )       January 18, 2008
                                                     )
                              Defendant.             )
                                                     )

PRESENT:       THE HONORABLE LARRY R. HICKS, U.S. DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING                   REPORTER: NONE APPEARING
COUNSEL FOR PETITIONER(S): NONE APPEARING
COUNSEL FOR RESPONDENT(S): NONE APPEARING
MINUTE ORDER IN CHAMBERS:
        Before the court is Government’s Application for Order Deeming Attorney Client
Privilege Waived (#177) requesting that the attorney-client privilege in Case Nos. 3:01-cr-00129-
LRH (VPC) and 3:01-cr-00188-LRH (VPC) shall be deemed waived and that defense counsel
George P. Trejo, Jr., Esq. shall forthwith provide the government with an affidavit containing all
materials and information relating to matters put at issue in the defendant’s § 2225 petition (#154
in 3:01-cr-129 and #29 in 3:01-cr-188). Good cause appearing,

      Government’s Application for Order Deeming Attorney Client Privilege Waived (#177)
is GRANTED.

       IT IS SO ORDERED.

                                             LANCE S. WILSON, CLERK

                                             By:             /s/
                                                           Deputy Clerk
